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UNlTED STATES DlSTR|C'l' COURT
FOR THE D|STRECT OF NEW IViEXICO

 

 

 

 

 

 

XD\O\O@/(‘ A (;)5£(57@ , Plaintiff CASE NO_ O/\/ §§ "“L”`.M?
(Ful| Name) .
(To be supplied by the Clerl<)
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1541/myoth PURSUAN'!‘ `E'O 42 U.S.C.§EQSC’>
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A. JURlSDlCT|ON

) ROY)/J/F\' A‘ QM{CVH ` 1 is a eman Of '\.}»Q/U\) M‘“€></'Cz>
{Piaintiff) `_ n f gm ( State)

who presently resides at Q(¢vl 5 \Q~Q, <;\ t;-;)CY)A `>`°\

(Mai<:§ address or place of confinement).

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2-) D€fendani ////` !OX£Z¢?¢-f/)»é/r/ ff /'~ 742 lr‘/ 171 /j//Z/W&> is a citizen of
(Name of firs detendant)
j-/i,/{f ‘5//` /]/f */"/" '/c*};"} GM ,and is emp|Oyed 35
(G'ity, State) \

. At the time the ciaim(s) .

 

( Position and title if any)
alleged in this complaint arose was this defendant acting under color cf state law?

Yes l:l No\:] lf your answer is “Yes" briefly explain:

 

VXE~Z 2778 civu. stems coMFLAiNT (42 u.s.c. §2983)

 

3) Defe"da"t 7 is a citizen of
(Name of second defendani)

 

, and is empioyed as

 

(City, State)
- At the time the ciaim(s)

 

( Position and title, if any)
_ ailegecl in this complaint arose, Was this defendant acting under color of state

YE»‘S i::i No l:] |f your answer is “Yes", briefly explain:

, (Use the back of this page to furnish the above information for' additionall

Case 1:_18-CV-_OOO47-KG-Ll:l Document 1 Filed 01/16/18 Page 2 of 6
defendants.) !
l

4) Jurisdiction is invoked pursuant to 28 U.S_C. §1343(3), 42U.S.C. §1983. (lf you
wish to assert Juri'sdiction under different or additional statutes, you may list them
below.) 7 l

B. NATURE OF THE CASE.

7) Brief|y state the background of your case.- 7 i
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Case 1:18.-cv-OOO47<KG'-LF Document 1 Filed 01/16_/18 Page 3 of 6

C. CAU'SE OF ACT|ON

1) | aliege that the following of my constitutional rights, privileges or immunities have been
violated and that the following facts form the basis for my aliegations: (if necessary, you
may attach up to two additional pages (8 1/2" x ii") to explain any aiiegation or to list

additional SUDDOrtan facts %%_} gm N`O¢,(ta C,?WTL\ ~?~»;1£ A:m~n Nt.i~{» v"¢.z r\ 366an g-:/e@~
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(2) Supporting Facts: (Inciude all facts you consider important, inciuding names of
persons involved, places and dates. Describe exactly how each defendant is involved
State the facts cleariy in your own words Without citing leagl authority or argument.)

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(2) Supporting Facts: ' ;

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><E»z 2178 _3_

Case 1:18-cV-OO`O47-KG'-LF\ Document l Filed 01/16/1_8 Page 4 of 6 7

e) Approxi`mate date of filing lawsuit:

 

 

f) Approximate date of disposition:

2) l have previously sought informal or formal releif from the appro rlate administrative officials
regarding the acts complained of iri Part C. Yes|: No |f your answer is “Yes",
briefly describe how relief Was sought and the results if your answer is "No," briefly explain
Why administrative relief Was not soughtl

E. REQUEST FOR RELlEF

_ l) l believe that l am entitled to the following relief:

 

 

 

Signature of Attorney (if any) , l Signature of Petitioner

Attorney's full address and telephone
number.

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C)(l) Count'l|l: _ - ,
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?Frzarra

(2) Supporting Facts: ATTA£L¢§J/Q,

D) PREVlOUS LAWSU|TS AND ADM|NISTRATl\/E RELlEF

1) l-lave you begun other lawsuits in state or federal court dealing with the same facts
involved in this action or otherwise relating to the conditions of your imprisonment?
Yes, |:] No% lf your answer is "YES", describe each lawsuit. (lf there is more
than one laws it, escribe the additional lawsuits on another piece of paper, using the

same outline.)

3) Parties to previous lawsuitl

Plaintitfs:

 

Defendants:

 

b) ' Name of court and docket numbe_r:

c) Disposi`tion (for example: Was the case dismissed? Was it appealed? ls it still -~ ‘
pending? -

dl issues raised:

 

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DECI_ARAT|ON UNDER PENAL`E'Y OF PERJURY

The undersigned declares under penalty of perjury that he' is the plaintiff in the above action,
that he has read the above complaint and that the information contained therein is true and
_ correct. 28 U. 8 C. Sec -.1746 18 t_l S. C Sec. 1821 ‘

'Executed at ` dr 1 ` " ` ' on ` 20
` (Location) ‘- _ 1 (Date)

 

 

(Signat`ure)\ l

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